              Case 1:20-cv-00042-FJS-CFH Document 85 Filed 10/20/23 Page 1 of 1




         UNITED STATES DISTRICT COURT
         NORTHERN DISTRICT OF NEW YORK

         SONIA HERNANDEZ,
                   Plaintiff,
                                                                     STIPULATION OF DISMISSAL

         - against -                                                Civ. Action No. 20-cv-42 (FJS/CFH)

         KWIAT EYE AND LASER SURGERY, PLCC; and
         DAVID M. KWIAT, M.D.,

                          Defendants.



               IT IS HEREBY STIPULATED AND AGREED by and between the undersigned, the
        attorneys of record for the Plaintiff and Defendants, in the above entitled action, that whereas no
        party hereto is an infant, incompetent person for whom a committee has been appointed or
        conservatee and no person not a party has an interest in the subject matter of the action, the above-
        entitled action be, and the same hereby is discontinued between the Plaintiff and Defendants solely
        with respect to Plaintiff's claims for breach of contract based on her entitlement to incentive
        compensation in 2017, on the merits with prejudice, and that Plaintiff expressly reserves her right
        to appeal all other claims previously asserted in this matter and which were the subject of this
        Court's Memorandum Decision and Order dated January 24, 2023. This Stipulation may be filed
        without further notice with the Court.


        DATED:         Cheektowaga, New York                  DATED:          Albany, New York
                       September, 2023                                        September - 2023

               SANDERS & SANDERS                                      GIRVIN & FERLA ZO,

        By:
               Harvey P, Sanders, Esq.                                Stott-P. Questiel, Esq.
               Attorneb for Plaintiff                                 Attorneys for Defendants
               401 Maryvale Drive                                     20 Corporate Woods Boulevard
               Cheektowaga, New York 14225                            Albany, New York 12211
               (716) 839-1489                                         (518) 462-0300

Dated: October 20, 2023

IT IS SO ORDERED.
